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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MINNESOTA



SMARTMATIC USA CORP.,
SMARTMATIC INTERNATIONAL
HOLDING B.V., and SGO
CORPORATION LIMITED,

                     Plaintiffs,
               v.                   Case No. 22-cv-0098-WMW-JFD
MICHAEL J. LINDELL and MY
PILLOW, INC.,

                     Defendants.


SMARTMATIC’S SUBMISSION IN RESPONSE TO DEFENDANTS’ MOTION
  TO WITHDRAW AS ATTORNEYS AND THE COURT’S ORDER DATED
                OCTOBER 5, 2023 (DKT. NO. 230)
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       Plaintiffs Smartmatic USA LLC, Smartmatic International B.V., and SGO

Corporation (collectively, “Smartmatic”) submit the following in response to the notice of

withdrawal filed by Defendants’ counsel.

                                   INTRODUCTION

       Smartmatic does not object to the notice of withdrawal filed by Defendants’ counsel

as a professional courtesy. Smartmatic, however, objects to material changes in the case

schedule to accommodate Defendants. Defendants have chosen not to pay their counsel.

There is no evidence before the Court that they cannot – no financial statements, no bank

records, no affidavit from Mr. Lindell or MyPillow. The only fact before the Court is that

Defendants are not paying their lawyers for whatever reason. Defendants should not benefit

or gain a strategic advantage from a situation of their own making. Nor should Smartmatic

be further prejudiced by Defendants’ unilateral decision. This case needs to continue its

path to trial.

       The timing of the notice of withdrawal, with a contested discovery motion on file

and scheduled for argument next week, is interesting to say the least. As was Mr. Lindell’s

reaction to his counsel’s notice. Mr. Lindell used the announcement as an opportunity to

fundraise for his election fraud campaign. Last night, Mr. Lindell emailed his followers the

following:

           Our Lawyers went to a federal judge to drop our cases because we are
           no longer able to pay them!

(Declaration of Julie M. Loftus (“Loftus Decl.”) Ex. 1 (emphasis added)). He then used

that development as justification for asking his followers for more money. Mr. Lindell told



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his followers that he “must have an infusion of $200,000 immediately to pay for and

distribute [Wireless Monitoring Devices] immediately to pay for and distribute these

devices to county election clerks for the upcoming November election.” (Id.) Mr. Lindell

fails to pay his lawyers to defend his bogus claims of election fraud and uses the situation

to raise money for his so-called “WMDs.”

       That oddity aside, and so there is no doubt, Smartmatic’s objection to a material

change in the schedule is not limited to its distaste for Mr. Lindell’s attempt to fundraise

off the back of his counsel’s plight. Smartmatic’s objection is grounded in the fact that a

judgment is the only hope that Smartmatic has of stopping Mr. Lindell from lying about it

and its voting machines. Smartmatic filed its lawsuit against Mr. Lindell and MyPillow on

January 18, 2022. That did not stop Mr. Lindell from continuing his disinformation

campaign. Smartmatic amended its complaint in April 2023 to capture defamatory

statements made by Mr. Lindell after its complaint was filed. And, as recently as August

2023, Mr. Lindell and MyPillow hosted yet another symposium in which he defamed

Smartmatic once again. 1 Smartmatic needs a trial as soon as possible, and a significant

judgment against Defendants, to stop further reputational harm and deter Mr. Lindell from

making further defamatory statements. Smartmatic cannot afford to wait.




1
 See, e.g. The Plan: How We Secure Our Elections, FrankSpeech (August 18, 2023),
available at https://frankspeech.com/Video/the-plan-how-we-secure-our-elections, at
25:54–26:18.

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                                       ARGUMENT

       On October 5, 2023, Smartmatic communicated with defense counsel indicating that

it would not, as a professional courtesy, object to the withdrawal. Smartmatic, however,

also communicated about the need for clarity about pending and outstanding discovery to

be completed within the current case schedule and made a related proposal. Smartmatic’s

proposal is based on a balance between accommodating a short extension of time for

Defendants to sort out representation, while minimizing the obvious detriment and

prejudice to Smartmatic. Smartmatic thus proposes a modest modification of the schedule

as set for the below. It does so as a professional courtesy to Defendants’ counsel.

       On fact discovery, Smartmatic has agreed to a temporary stay of depositions other

than the third-party deposition of Dennis Montgomery, who is only appearing after a

motion to compel his deposition. This stay is prejudicial to Smartmatic as it necessarily

means that the deadline to complete fact discovery will be extended by some amount. As

the Court knows, Smartmatic has four other lawsuits pending in New York, Delaware, and

D.C. against publishers of disinformation about the company. Smartmatic had planned on

having the fact discovery in this case completed by October 20 so that it could focus its

attention and efforts on those other cases. This stay (temporary stay) puts Smartmatic in

the difficult position with respect to its fact discovery efforts in the other cases. However,

taking Defendants’ counsel at their word, Smartmatic has agreed to this temporary stay.

       The question then becomes what a reasonable length of time is to extend fact

discovery to allow Defendants to introduce new counsel. Smartmatic proposes an extension

of one month from October 20 to November 20, 2023. This will provide Defendants with


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more than enough time to have new counsel to complete fact depositions. Smartmatic

would be prejudiced by allowing Defendants’ decision not to pay their counsel to further

delay Smartmatic’s completion of fact discovery and progression of the case to trial. The

parties have a “trial ready” date of April 1, 2024. Smartmatic should not be forced to

materially compromise that date because Defendants have elected not to pay their counsel.

The Court has zero evidence that Defendants cannot pay their counsel, just that Defendants

have refused to do so.

       Smartmatic’s willingness to extend fact discovery by one month is conditioned on

limitations being placed on the depositions that can be conducted during this period.

Defendants should not be allowed to benefit from a situation of their own making.

Accordingly, Smartmatic will agree to the one-month extension of fact discovery assuming

the parties are restricted to taking depositions of only those (1) party witnesses who have

already been scheduled or identified by the parties and (2) third-party witnesses who are

subject to motions to compel because they have failed to appear for depositions pursuant

to court ordered subpoenas. Based on that criteria, Smartmatic agrees to the following

depositions being conducted through November 20, 2023:

       •      Smartmatic witnesses:

              •   Ed Smith (as Fed. R. Civ. P. 30(b)(6) designee)

              •   Samira Saba

              •   Pedro Mugica

              •   Eduardo Correia

              •   Shawn Pollock (as Rule 30(b)(6) designee)



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             •   James Long

             •   Bob Cook

             •   Roger Piñate Jr. (as Rule 30(b)(6) designee)

      •       Defendant witnesses:

             •   Mike Lindell

             •   Rule 30(b)(6) deposition of MyPillow

             •   Rule 30(b)(6) deposition of Lindell Management, LLC deposition

             •   Darren Lindell

      •      Third-Party witnesses:

             •   Mary Fanning

             •   Conan Hayes

             •   Brannon Howse

             •   Jim Furlong

             •   Carlotta Wells

             •   John Negroponte

             •   Rule 30(b)(6) deposition of Los Angeles County

The above depositions were those that were on-track to be completed prior to the current

fact discovery cutoff (October 20).

      Smartmatic objects to Defendants taking depositions during the extended fact

discovery period (through November 20) of third-party witnesses who do not currently

have a confirmed deposition date and are not subject to pending motion to compel. The

reason is simple: Defendants should not be allowed to take advantage of the extended fact

discovery period to conduct depositions that they did not pursue with enough diligence to



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get accomplished within the current schedule. That would amount to rewarding Defendants

for not paying their attorneys and punishing Smartmatic for extending a professional

courtesy to Defendants’ counsel. Defendants have talked about deposing a lot of third-party

witnesses, but they have not secured dates for many of those depositions and have not filed

motions to compel. Since those depositions were not going to take place on the current fact

discovery schedule, they should not take place during the extended discovery schedule.

       On expert discovery, Smartmatic will agree to an extension of two weeks for the

parties to serve rebuttal reports from October 20 to November 3, 2023. The time for filing

expert disclosures and opening reports has passed. Both parties served opening expert

reports on September 22, 2023. Rebuttal reports are due on October 20. Two additional

weeks (almost a month from now) is more than sufficient time for rebuttal reports.

Counsel’s notice of withdrawal says nothing about the experts retained by Defendants.

Counsel’s notice provides no evidence that Defendants’ experts cannot continue to prepare

their rebuttal reports. Nor does the notice indicate that Defendants’ experts are not being

paid. There is no evidence justifying a longer extension.

       Smartmatic will also agree (reluctantly) to extend the deadline for completion of

expert discovery to December 20, 2023. Expert discovery is currently scheduled to end by

December 1, 2023. Smartmatic will agree to extend that deadline by 19 days, consistent

with the extension of time to file rebuttal expert reports. Smartmatic objects to a longer

extension of the deadline for expert discovery. Smartmatic’s extension may delay the “trial

ready” date by a few weeks. But it will not materially change the date by which the Court

will set the case for trial. A longer extension of the expert discovery schedule will


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unnecessarily and unfairly delay the “trial ready” date and delay Smartmatic getting its trial

against Defendants. Smartmatic should not be required to delay its day in Court simply

because Defendants have decided to stop paying their counsel. Smartmatic is being more

than accommodating and fair, as a courtesy to counsel, by agreeing to extend expert

discovery by almost three weeks. The current case schedule has been in place since August

15, 2023.

                                             ***

       In February 2021, Mr. Lindell told the world that he had “absolute proof” that

Smartmatic rigged the 2020 election. He has repeated that boast on a regular basis ever

since – telling people that he has “100% proof” to back up his claims about Smartmatic.

Smartmatic has no way to undo or further prevent Mr. Lindell from continuing to defame

it and harming its reputation. Defendants’ decision to stop paying counsel does not justify

postponing Smartmatic’s trial date. There is no evidence in the record that Mr. Lindell

cannot pay his counsel, his experts, or his trial preparation expenses. According to Mr.

Lindell, he has spent “millions” to spread his disinformation about Smartmatic and voting

machines. He clearly has money. Smartmatic is ready to wrap up this case and have a jury

hear the evidence. Smartmatic agrees to a modest delay in the schedule but not a material

one that provides an advantage to Defendants.




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Dated: October 6, 2023               Respectfully submitted,

                                     /s/ J. Erik Connolly

                                     Christopher K. Larus
                                        Minnesota Bar No. 0226828
                                        CLarus@robinskaplan.com
                                     William E. Manske
                                        Minnesota Bar No. 0392348
                                        WManske@robinskaplan.com
                                     Emily J. Tremblay
                                        Minnesota Bar No. 0395003
                                        ETremblay@robinskaplan.com
                                     ROBINS KAPLAN LLP
                                     800 LaSalle Avenue, Suite 2800
                                     Minneapolis, MN 55402
                                     Telephone: (612) 349-8500

                                     J. Erik Connolly (admitted pro hac vice)
                                         EConnolly@beneschlaw.com
                                     Illinois ARDC No. 6269558
                                     Nicole E. Wrigley (admitted pro hac vice)
                                         NWrigley@beneschlaw.com
                                     Illinois ARDC No. 6278749
                                     Michael E. Bloom (admitted pro hac vice)
                                         MBloom@beneschlaw.com
                                     Illinois ARDC No. 6302422
                                     Jamie N. Ward (admitted pro hac vice)
                                     Illinois ARDC No. 6321686
                                         JWard@beneschlaw.com
                                     Julie M. Loftus (admitted pro hac vice)
                                         JLoftus@beneschlaw.com
                                     Illinois ARDC No. 6332174
                                     BENESCH, FRIEDLANDER, COPLAN &
                                     ARONOFF LLP
                                     71 South Wacker Drive, Suite 1600
                                     Chicago, IL 60606
                                     Telephone: (312) 212-4949

                                     James R. Bedell (admitted pro hac vice)
                                        JBedell@beneschlaw.com


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                                Ohio Bar No. 97921
                                BENESCH, FRIEDLANDER, COPLAN &
                                ARONOFF LLP
                                127 Public Square, Suite 4900
                                Cleveland, OH 44114
                                Telephone: (216) 363-4500

                                Attorneys for the Plaintiffs




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